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AO 245B (Rev. 02/18)   Judgment in a Criminal Case



                                         UNITED STATES DISTRICT COURT
                                                                 District of Colorado
                                                                            )
              UNITED STATES OF AMERICA                                      )    JUDGMENT IN A CRIMINAL CASE
                                   v.                                       )
                                                                            )
                                                                            )    Case Number:         17-cr-00036-RM-1
                 CAMERON ELVAN KORTH                                        )    USM Number:          44010-013
                                                                            )
                                                                            )    David Edward Johnson
                                                                            )    Defendant’s Attorney
THE DEFENDANT:
‫ ܈‬pleaded guilty to count(s)        2 of the Indictment
‫ ܆‬pleaded nolo contendere to count(s)
  which was accepted by the court.
‫ ܆‬was found guilty on count(s)
  after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                Nature of Offense                                                           Offense Ended           Count
49 U.S.C. § 46507(1)           False Information and Threats                                                01/16/2017               2




       The defendant is sentenced as provided in pages 2 through               7         of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
‫ ܆‬The defendant has been found not guilty on count(s)
‫ ܈‬Count(s) 1 of the Indictment                            ‫ ܈‬is     ‫܆‬   are dismissed on the motion of the United States.

          It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay
restitution, the defendant must notify the court and United States attorney of material changes in economic circumstances.

                                                                        July 20, 2018
                                                                        Date ooff Imposition
                                                                                  Imp
                                                                                   m osition of Judgment




                                                                        Signature
                                                                        Signat
                                                                           nature
                                                                               u of Judg
                                                                                    Judgee




                                                                        Raymond P. Moore, United States District Judge
                                                                        Name and Title of Judge


                                                                         July 23, 2018
                                                                        Date
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                                                            IMPRISONMENT
  The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a total term of:
           EIGHTEEN (18) MONTHS




       ‫܈‬    The court makes the following recommendations to the Bureau of Prisons:
            The Court recommends the defendant be considered for halfway house placement as normal practice of the Bureau of Prisons
            would dictate, without regard to special condition number one. The Court also recommends the defendant be designated to a
            facility within the District of Colorado or any other facility closer to Salt Lake City, Utah.


       ‫܈‬    The defendant is remanded to the custody of the United States Marshal.

       ‫܆‬    The defendant shall surrender to the United States Marshal for this district:
            ‫܆‬      at                                      ‫܆‬      a.m. ‫܆‬        p.m.   on                                               .
            ‫܆‬      as notified by the United States Marshal.

       ‫܆‬    The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
            ‫܆‬      before 2 p.m. on                                        .
            ‫܆‬      as notified by the United States Marshal.
            ‫܆‬      as notified by the Probation or Pretrial Services Office.

                                                                   RETURN
  I have executed this judgment as follows:




           Defendant delivered on                                                           to

  at                                                , with a certified copy of this judgment.



                                                                                                    UNITED STATES MARSHAL



                                                                               By
                                                                                                 DEPUTY UNITED STATES MARSHAL
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                                                     SUPERVISED RELEASE
Upon release from imprisonment, you will be on supervised release for a term of: THREE (3) YEARS




                                                  MANDATORY CONDITIONS

1.    You must not commit another federal, state or local crime.
2.    You must not unlawfully possess a controlled substance.
3.    You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of release from
      imprisonment and at least two periodic drug tests thereafter, as determined by the court.
             ‫ ܆‬The above drug testing condition is suspended, based on the court's determination that you pose a low risk of future
                  substance abuse. (check if applicable)
4.     ‫ ܆‬You must make restitution in accordance with 18 U.S.C. §§ 3663 and 3663A or any other statute authorizing a sentence of
            restitution. (check if applicable)
5.     ‫ ܈‬You must cooperate in the collection of DNA as directed by the probation officer. (check if applicable)
6.     ‫ ܆‬You must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. § 20901, et seq.) as
            directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in the location where you
            reside, work, are a student, or were convicted of a qualifying offense. (check if applicable)
7.     ‫ ܆‬You must participate in an approved program for domestic violence. (check if applicable)




You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the attached
page.
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                                         STANDARD CONDITIONS OF SUPERVISION
  As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are imposed
  because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed by probation
  officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.

  1.    You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your
        release from imprisonment, unless the probation officer instructs you to report to a different probation office or within a different
        time frame.
  2.    After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and
        when you must report to the probation officer, and you must report to the probation officer as instructed.
  3.    You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from
        the court or the probation officer.
  4.    You must answer truthfully the questions asked by your probation officer.
  5.    You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
        arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the change. If notifying
        the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72
        hours of becoming aware of a change or expected change.
  6.    You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation officer to
        take any items prohibited by the conditions of your supervision that he or she observes in plain view.
  7.    You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you from
        doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation officer excuses
        you from doing so. If you plan to change where you work or anything about your work (such as your position or your job
        responsibilities), you must notify the probation officer at least 10 days before the change. If notifying the probation officer at least 10
        days in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of
        becoming aware of a change or expected change.
  8.    You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been
        convicted of a felony, you must not knowingly communicate or interact with that person without first getting the permission of the
        probation officer.
  9.    If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
  10.   You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything that
        was designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as nunchakus or
        tasers).
  11.   You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant without
        first getting the permission of the court.
  12.   If the probation officer determines that you pose a risk to another person (including an organization), the probation officer may
        require you to notify the person about the risk and you must comply with that instruction. The probation officer may contact the
        person and confirm that you have notified the person about the risk.
  13.   You must follow the instructions of the probation officer related to the conditions of supervision.



  U.S. Probation Office Use Only
  A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this
  judgment containing these conditions. For further information regarding these conditions, see Overview of Probation and Supervised
  Release Conditions, available at: www.uscourts.gov.


  Defendant's Signature                                                                                     Date
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                                               SPECIAL CONDITIONS OF SUPERVISION
          1. You must reside in a Residential Reentry Center (RRC) for a period of up to one hundred twenty (120) days, to
             commence as soon as practicable upon release from the custody of the Bureau of Prisons. You must follow the rules
             and regulations of that facility. Probation may release you from the halfway house residency requirement upon your
             securing an appropriate residence, taking into account such needs as may be shown by your mental health evaluation.
          2. You must participate in and successfully complete a program of testing and/or treatment for substance abuse, as
             approved by the probation officer, until such time as you are released from the program by the probation officer. You
             must abstain from the use of alcohol or other intoxicants during the course of treatment and must pay the cost of
             treatment as directed by the probation officer.
          3. You must participate in and successfully complete a program of mental health evaluation and program treatment, as
             approved by the probation officer, until such time as you are released from the program by the probation officer. You
             must pay the cost of treatment as directed by the probation officer. With respect to the mental-health evaluation, your
             initial mental-health evaluation shall be completed to the extent practicable, within 45 days of your release from the
             custody of the Bureau of Prisons.
          4. You must remain medication compliant and must take all medications that are prescribed by your treating psychiatrist.
             You must cooperate with random blood tests as requested by your treating psychiatrist and/or supervising probation
             officer to ensure that a therapeutic level of your prescribed medications is maintained.
          5. You must not knowingly make any false reports to any law enforcement agency, any governmental agency, any
             airline, or any business or entity engaged in the transportation business.




                                         
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                                                 CRIMINAL MONETARY PENALTIES
       The defendant must pay the total criminal monetary penalties under the schedule of payments on the following page.

                                                     JVTA Assessment*
                         Assessment                                                   Fine                      Restitution
  TOTALS             $ 100.00                     $ 0.00                            $ 0.00                   $ 0.00


 ‫ ܆‬The determination of restitution is deferred until                       . An Amended Judgment in a Criminal Case (AO 245C) will be entered
   after such determination.

 ‫ ܆‬The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

      If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
      the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be paid
      before the United States is paid.

  Name of Payee                                  Total Loss**                        Restitution Ordered                  Priority or Percentage




  TOTALS                               $                                        $
 ‫ ܆‬Restitution amount ordered pursuant to plea agreement                $

 ‫ ܆‬The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
   fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on the following page may be
   subject to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

 ‫ ܆‬The court determined that the defendant does not have the ability to pay interest and it is ordered that:

      ‫ ܆‬the interest requirement is waived for the             ‫ ܆‬fine       ‫ ܆‬restitution.

      ‫ ܆‬the interest requirement for the           ‫܆‬    fine    ‫ ܆‬restitution is modified as follows:
 * Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22.
 ** Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or
 after September 13, 1994, but before April 23, 1996.
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                                                        SCHEDULE OF PAYMENTS

  Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties is due as follows:

  A     ‫ ܆‬Lump sum payment of $                                    due immediately, balance due

             ‫܆‬     not later than                                     , or
             ‫܆‬     in accordance with ‫܆‬          C,    ‫܆‬      D,      ‫ ܆‬E, or ‫ ܆‬F below; or

  B     ‫ ܈‬Payment to begin immediately (may be combined with ‫܆‬                     C,      ‫ ܆‬D, or       ‫ ܆‬F below); or

  C     ‫ ܆‬Payment in equal                             (e.g., weekly, monthly, quarterly) installments of $                             over a period of
                             (e.g., months or years), to commence                         (e.g., 30 or 60 days) after the date of this judgment; or

  D     ‫ ܆‬Payment in equal                             (e.g., weekly, monthly, quarterly) installments of $                           over a period of
                             (e.g., months or years), to commence                         (e.g., 30 or 60 days) after release from imprisonment to a
             term of supervision; or

  E     ‫ ܆‬Payment during the term of supervised release will commence within                 (e.g., 30 or 60 days) after release from
          imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time; or

  F     ‫ ܆‬Special instructions regarding the payment of criminal monetary penalties:




  Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due
  during the period of imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’
  Inmate Financial Responsibility Program, are made to the clerk of the court.

  The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.


  ‫܆‬     Joint and Several

        Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
        and corresponding payee, if appropriate.



  ‫܆‬     The defendant shall pay the cost of prosecution.

  ‫܆‬     The defendant shall pay the following court cost(s):

  ‫܆‬     The defendant shall forfeit the defendant’s interest in the following property to the United States:


  Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal, (5) fine
  interest, (6) community restitution, (7) JVTA assessment, (8) penalties, and (9) costs, including cost of prosecution and court costs.
